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 8
                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
     JAMES ZILBERT, individually and on )        Case No.
11   behalf of all other similarly situated, )
12                                           )   CLASS ACTION
     Plaintiff,                              )
13
                                             )   COMPLAINT FOR VIOLATIONS
14          vs.                              )   OF:
15                                           )
     CREDIT CORP SOLUTIONS INC., )               (1) Federal Fair Debt Collection
16   and DOES 1 through 10, inclusive,       )   Practices Act [15 U.S.C. § 1692 et
17                                           )   seq.]
     Defendant.                              )   (2) Rosenthal Fair Debt Collection
18
                                             )   Practices Act [Cal. Civ. § 1788 et seq.]
19                                           )
                                             )   DEMAND FOR JURY TRIAL
20
                                             )
21
22         Plaintiff, JAMES ZILBERT (“Plaintiff”), individually, and on behalf of all
23
     others similarly situated, brings this action against Defendant, CREDIT CORP
24
25   SOLUTIONS INC. (“Defendant”), alleging the following upon information and
26
     belief based upon personal knowledge:
27
28



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 1                                   INTRODUCTION
 2
 3         1.      Plaintiff brings this action, individually and on behalf of all others

 4   similarly situated, for Defendant’s use of deceptive means in connection with
 5
     collection of alleged debts in violation of both the Federal Fair Debt Collection
 6
 7   Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the Rosenthal Fair Debt
 8
     Collection Practices Act, Cal. Civ. Code § 1788 et seq. (“RFDCPA”).
 9
10                              JURISDICTION & VENUE
11
12         2.      This Court has original jurisdiction over this matter because it arises
13   under the laws of the United States. Therefore, Jurisdiction is proper pursuant to
14
     28 U.S.C. § 1331. Furthermore, this Court has supplemental jurisdiction over
15
16   Plaintiff’s RFDCPA claim, insofar as it arises under the same facts, pursuant to 28
17
     U.S.C. § 1367(a).
18
19         3.      A substantial part of the events giving rise to this action occurred in
20
     the County of Los Angeles, California. Venue is therefore proper in the United
21
22   States District Court for the Central District of California pursuant to 28 U.S.C. §

23   1391(b)(2).
24
                                          PARTIES
25
26         4.      Plaintiff is a natural person residing in Los Angeles County, California
27
     who allegedly owed or owes a debt and is thereby a “consumer” and a “debtor”
28



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 1   under the FDCPA, 15 U.S.C. § 1692a(3) and the RFDCPA, Cal. Civ. Code §

 2   1788.2(h), respectively.
 3
           5.     At all relevant times herein, Defendant was a company engaged, by
 4
 5   use of mail, in the business of collecting a debt from Plaintiff and others which
 6
     qualifies as a “debt” and a “consumer debt” under the FDCPA, 15 U.S.C. §
 7
 8   1692a(5) and the RFDCPA, Cal. Civ. Code § 1788.2(f), respectively. Defendant
 9   regularly attempts to collect debts alleged to be due them or another, and therefore
10
     is a “debt collector” under the FDCPA, 15 U.S.C. § 1692a(6) and the RFDCPA,
11
12   Cal. Civ. Code § 1788.2(c), respectively.
13
           6.     The above named Defendant, and its subsidiaries and agents, are
14
15   collectively referred to as “Defendants.” The true names and capacities of the
16
     Defendants sued herein as DOES 1 through 10, inclusive, are currently unknown
17
18   to Plaintiff, who therefore sues such Defendants by fictitious names. Each of the

19   Defendants designated herein as a DOE is legally responsible for the unlawful acts
20
     alleged herein. Plaintiff will seek leave of Court to amend the Complaint to reflect
21
22   the true names and capacities of the DOE Defendants when such identities become
23
     known.
24
25         7.     Plaintiff is informed and believes that at all relevant times, each and
26   every Defendant was acting as an agent and/or employee of each of the other
27
     Defendants and was acting within the course and scope of said agency and/or
28



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 1   employment with the full knowledge and consent of each of the other Defendants.

 2   Plaintiff is informed and believes that each of the acts and/or omissions complained
 3
     of herein was made known to, and ratified by, each of the other Defendants.
 4
 5                             FACTUAL ALLEGATIONS
 6
           8.     Within one year preceding the filing of this complaint, Defendant
 7
 8   contacted Plaintiff regarding an alleged debt.
 9         9.     In or around November of 2016, Defendant sent a letter (hereinafter,
10
     “the letter”) to Plaintiff in an attempt to collect an alleged debt originally owed to
11
12   a “Synchrony Bank – Care Credit” in the amount of $1,180.62.
13
           10.    In the letter, Defendant stated “. . . your account has been referred to
14
15   our Pre-Legal Department . . . Please note that your account meets our legal criteria
16
     and is eligible to be referred to an attorney. If payment is not received we will be
17
18   sending your account to a law firm to be reviewed by an attorney for possible legal

19   action” (emphasis added).
20
           11.    Such statements as those aforementioned gave Plaintiff the impression
21
22   that Defendant is threatening and intends on taking legal action. However,
23
     Defendant has no right to take such action or never intended to take such legal
24
25   action.
26         12.    Furthermore, such statements as those aforementioned are likely to
27
     convince the least sophisticated consumer such as Plaintiff that legal action has
28



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 1   already been taken in an attempt to collect on an alleged debt from them.

 2         13.    Defendant made misrepresentations as to the nature of the alleged
 3
     debt, legal status of the alleged debt, and services rendered in connection with
 4
 5   collection on the alleged debt, among other material misrepresentations.
 6
           14.    Defendant stated that the alleged debt meets requirements for legal
 7
 8   action and then went on to imply that services are or will be rendered on behalf of
 9   Plaintiff for which Plaintiff will be responsible.
10
           15.    Defendant represented in the letter that Plaintiff was legally obligated
11
12   to pay the debt.
13
           16.    All of Defendant’s representations made in the letter were made in
14
15   connection with collection on the alleged debt.
16
           17.    Defendant’s letter lead Plaintiff to feel confused as to the legal status
17
18   of the debt, Defendant’s rights thereto, and Plaintiff’s obligations.

19         18.    As a result, Plaintiff’s credit has suffered, and Plaintiff feels deceived,
20
     anxious, and harassed.
21
22                                CLASS ALLEGATIONS
23
           19.    Plaintiff brings this action on behalf of himself and all others similarly
24
25   situated, as a member of the proposed class (“The Class”) defined as follows:
26                All persons in the United States whom Defendant tried
27                to contact via mail in an effort to collect an alleged debt
                  within one (1) year of filing this complaint wherein
28
                  Defendant made representations that the debt will be sent


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 1                to an attorney for a lawsuit unless the debt is paid.

 2
           20.    Plaintiff brings this action behalf of himself and all others similarly
 3
 4   situated, as a member of the proposed California Sub-Class (“The Sub-Class”)
 5
     defined as follows:
 6
                  All persons in the California whom Defendant tried to
 7
                  contact via mail in an effort to collect an alleged debt
 8                within one (1) year of filing this complaint wherein
 9                Defendant made representations that the debt will be sent
                  to an attorney for a lawsuit unless the debt is paid.
10
11         21.    Collectively, The Class and The Sub-Class will be referred to as “The
12
     Classes”.
13
14         22.    Specifically excluded from The Classes are Defendant; any entities in
15   which Defendant has a controlling interest; and the employees, officers, directors,
16
     affiliates, legal representatives, subsidiaries, and affiliates of Defendant.
17
18         23.    This action is brought and may be properly maintained as a class
19
     action. This action satisfies the numerosity, typicality, adequacy, predominance
20
21   and superiority requirements for a class action.
22         24.    Plaintiff and members of The Classes were harmed in the same way,
23
     namely the following: they were mislead by Defendant with respect to the character
24
25   and nature of the alleged debts and Defendant’s rights with respect thereto, and
26
     they all felt harassed, annoyed, or anxious as a result of Defendant’s conduct.
27
28         25.    The Classes are so numerous that the individual joinder of all of its


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 1   members is impractical. While the exact number and identities of The Classes

 2   members are unknown to Plaintiff at this time and can only be ascertained through
 3
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 4
 5   The Classes include thousands of members. Plaintiff alleges that The Classes
 6
     members may be ascertained by the records maintained by Defendant.
 7
 8         26.   Common questions of fact and law exist as to all members of The
 9   Class which predominate over any questions affecting only individual members of
10
     The Class. These common legal and factual questions, which do not vary between
11
12   Class members, and which may be determined without reference to the individual
13
     circumstances of any Class members, include, but are not limited to, the following:
14
15               a.     Whether Defendant misrepresented the character or legal status
16                      of debts;
17               b.     Whether Defendant threatened legal action that it could not take
18                      or had not intention on taking;
19               c.     Whether Defendant used deceptive means in connection with
20                      the collection of debts; and
21               d.     The nature and extent of damages and other remedies to which
22                      the conduct of Defendant entitles The Class members.
23
24         27.   Plaintiff is asserting claims that are typical of The Class because every
25
     other member of The Class, like Plaintiff, were exposed to virtually identical
26
27   conduct and are entitled to statutory damages up to $1,000.00 in addition to actual

28   damages and reasonable attorneys’ fees and costs pursuant to the FDCPA and


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 1   RFDCPA.

 2         28.    Common questions of fact and law exist as to all members of The Sub-
 3
     Class which predominate over any questions affecting only individual members of
 4
 5   The Class. These common legal and factual questions, which do not vary between
 6
     Sub-Class members, and which may be determined without reference to the
 7
 8   individual circumstances of any Sub-Class members, include, but are not limited
 9   to, the following:
10
11                a.      Whether Defendant misrepresented the character or legal status
12                        of debts;
13                b.      Whether Defendant threatened legal action that it could not take
14                        or had not intention on taking;
15                c.      Whether Defendant used deceptive means in connection with
16                        the collection of debts; and
17                d.      The nature and extent of damages and other remedies to which
18                        the conduct of Defendant entitles The Sub-Class members.
19
20         29.    Plaintiff is asserting claims that are typical of The Sub-Class because
21
     every other member of The Sub-Class, like Plaintiff, were exposed to virtually
22
23   identical conduct and are entitled to statutory damages up to $1,000.00 in addition
24
     to actual damages and reasonable attorneys’ fees and costs pursuant to the FDCPA
25
26   and RFDCPA.

27         30.    Plaintiff will fairly and adequately protect the interests of the members
28



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 1   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of

 2   class actions.
 3
           31.    A class action is superior to other available methods of fair and
 4
 5   efficient adjudication of this controversy, since individual litigation of the claims
 6
     of all Classes members is impracticable. Even if every Classes member could
 7
 8   afford individual litigation, the court system could not. It would be unduly
 9   burdensome to the courts in which individual litigation of numerous issues would
10
     proceed. Individualized litigation would also present the potential for varying,
11
12   inconsistent, or contradictory judgments and would magnify the delay and expense
13
     to all parties and to the court system resulting from multiple trials of the same
14
15   complex factual issues. By contrast, the conduct of this action as a class action
16
     presents fewer management difficulties, conserves the resources of the parties and
17
18   of the court system, and protects the rights of each Classes member.

19         32.    The prosecution of separate actions by thousands of individual Classes
20
     members would also create the risk of inconsistent or varying adjudications with
21
22   respect to, among other things, the need for and the nature of proper disclosures
23
     which Defendant must provide to all Classes members when attempting to collect
24
25   alleged debts.
26         33.    The prosecution of separate actions by individual Classes members
27
     would create a risk of adjudications with respect to them that would, as a practical
28



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 1   matter, be dispositive of the interests of the other Classes members not parties to

 2   such adjudications or that would substantially impair or impede the ability of such
 3
     non-party Classes members to protect their interests.
 4
 5          34.   Defendant has acted or refused to act in respects generally applicable
 6
     to The Classes, thereby making appropriate final and injunctive relief with regard
 7
 8   to the members of The Classes as a whole.
 9
10      COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES
11
                             ACT, 15 U.S.C. § 1692 ET SEQ.
12
                                (By Plaintiff and The Class)
13
14          35.   Plaintiff hereby incorporates the preceding paragraphs as if set forth
15
     in full.
16
17          36.   A debt collector may not engage in any conduct the natural
18
     consequences of which is to harass, oppress, or abuse any person in connection
19
20
     with the collection of a debt. 15 U.S.C. § 1692d. By engaging in the above detailed

21   conduct, Defendant violated this provision of the FDCPA.
22
            37.   A debt collector may not falsely represent the character, amount or
23
24   legal status of any debt in connection with the collection of any debt. 15 U.S.C. §
25
     1692e(2)(A). By engaging in the above detailed conduct, Defendant violated this
26
27   provision of the FDCPA.
28          38.   A debt collector may not unlawfully represent, or represent without


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 1   intent to follow through, that nonpayment of any debt will result in the arrest or

 2   imprisonment of any person or seizure, garnishment, attachment, or sale of any
 3
     property or wages of any person. 15 U.S.C. § 1692e(4). By engaging in the above
 4
 5   detailed conduct, Defendant violated this provision of the FDCPA.
 6
           39.   A debt collector may not threaten to take erroneous legal action or
 7
 8   threaten legal action without intent to follow through. 15 U.S.C. § 1692e(5). By
 9   engaging in the above detailed conduct, Defendant violated this provision of the
10
     FDCPA.
11
12         40.   As a direct proximate result of Defendant’s conduct, Plaintiff and the
13
     Class have suffered actual damages and other harm, thereby entitling them to seek
14
15   statutory damages in the amount of $1,000.00 each, in addition to reasonably
16
     incurred attorney’s fees and costs. 15 U.S.C. §1692k(a)(1)-(3).
17
18                               PRAYER FOR RELIEF
19
20         Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The

21   Class members the following relief against Defendants, and each of them:
22
                 A. That this action be certified as a class action on behalf of The Class
23
24                   and Plaintiff be appointed as the representative of The Class;
25
                 B. For statutory damages of $1,000.00 for Plaintiff and each member
26
27                   of The Class pursuant to 15 U.S.C. § 1692k;
28               C. For actual damages according to proof;


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 1                   D. For reasonable attorneys’ fees and costs of suit;

 2                   E. For prejudgment interest at the legal rate; and
 3
                     F. For such further relief as this Court deems necessary, just, and
 4
 5                      proper.
 6
                COUNT II: VIOLATION OF THE ROSENTHAL FAIR DEBT
 7
        COLLECTION PRACTICES ACT, CAL. CIV. CODE § 1788 ET SEQ.
 8
                                  (By Plaintiff and The Sub-Class)
 9
10
            41.      Plaintiff hereby incorporates the preceding paragraphs as if set forth
11
12   in full.
13          42.      Cal. Civ. Code §1788.17 mandates that every debt collector collecting
14
     or attempting to collect a consumer debt shall comply with the provisions of
15
16   Sections 1692b to 1692j, inclusive, of, and shall be subject to the remedies in
17
     Section 1692k of, Title 15 of the United States Code statutory regulations contained
18
19   within the FDCPA, 15 U.S.C. 1692 et seq.
20
            43.      Based upon the foregoing, Defendant’s conduct violated the RFDCPA
21
22   in multiple ways, including but not limited to:

23                a) Engaging in any conduct the natural consequences of which
24
                     is to harass, oppress, or abuse any person in connection with
25
26                   the collection of a debt (15 U.S.C. § 1692d);
27
28



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 1               b) Falsely representing the character or legal status in

 2                  connection with collection of a debt (15 U.S.C. §
 3
                    1692e(2)(A));
 4
 5               c) Representing or implying that nonpayment of any debt will
 6
                    result in the arrest or imprisonment of any person or the
 7
 8                  seizure, garnishment, attachment, or sale of any property or
 9                  wages of any person unless such action is lawful and the debt
10
                    collector intends to follow through (15 U.S.C. § 1692e(4));
11
12                  and
13
                 d) Threatening to take any action that they cannot legally take
14
15                  or that they have no intent on taking (15 U.S.C. § 1692e(5)).
16
           44.      Plaintiff alleges that to the extent that Defendant’s actions, counted
17
18   above, violated the RFDCPA, those actions were done knowingly and willfully.

19         45.      As a direct and proximate result of Defendant’s violations of
20
     RFDCPA, Plaintiff and the members of The Sub-Class have suffered injury, and
21
22   may recover from Defendant one thousand dollars ($1,000.00) in statutory
23
     damages in addition to actual damages and reasonable attorneys’ fees and costs
24
25   pursuant to Cal. Civ. Code § 1788.30.
26         46.      The violations of RFDCA described herein present a continuing threat
27
     to members of The Sub-Class and members of the general public in that Plaintiff is
28



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 1   informed and believes and thereon alleges that Defendant continues to engage in

 2   these practices, and will not cease doing so unless and until forced to do so by this
 3
     Court.
 4
 5                                 PRAYER FOR RELIEF
 6
 7            Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The
 8
     Sub-Class members the following relief against Defendants, and each of them:
 9
10                  A. That this action be certified as a class action on behalf of The Sub-
11                     Class and Plaintiff be appointed as the representative of The Sub-
12
                       Class;
13
14                  B. For statutory damages of $1,000.00 for Plaintiff and each member
15
                       of The Sub-Class pursuant to 15 U.S.C. § 1692k;
16
17                  C. For statutory damages of $1,000.00 for Plaintiff and each member
18
                       of The Sub-Class pursuant to Cal. Civ. Code § 1788.30;
19
20                  D. For actual damages according to proof;

21                  E. For reasonable attorneys’ fees and costs of suit;
22
                    F. For prejudgment interest at the legal rate; and
23
24                  G. For such further relief as this Court deems necessary, just, and
25
                       proper.
26
27   ///
28



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 1                           DEMAND FOR JURY TRIAL
 2
 3
            47.   Plaintiff, pursuant to their rights under the Seventh Amendment to the

 4
     United States Constitution, demands a trial by jury of each and every claim so

 5
     triable.

 6
 7
 8                                   Respectfully submitted,
 9                                   Dated: April 5, 2017
10                                   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
11
12                                          /s/Todd M. Friedman
13
                                           Todd M. Friedman
                                           Attorneys for Plaintiff,
14                                         JAMES ZILBERT
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